 Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 1 of 11




                        Exhibit 3



Def Con Website: Hotel Room Block




                                                                    Page 21
Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 2 of 11




                                                                   Page 22
Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 3 of 11




                                                                   Page
                                                                   23
Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 4 of 11




                                                                   Page 24
Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 5 of 11




                                                                   Page 25
Browse hotels             Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 6 of 11                                              10/15/23, 7:28 PM




                                                                                                                                                 Start Over




DEF CON 32
August 3, 2024 - August 13, 2024


  Sort by
                                                                                                                   View map       Reservation Summary
    Name (A/Z)                          Show available only

  Show more filters                                                                                                               Check-in

                                                                                                                                    Sat, Aug 3, 2024


We found 6 hotels matching your search                                                                                            Checkout

                                                                                                                                    Tue, Aug 13, 2024

                           Caesars Palace 
                           3570 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES             USD 185.20 -            Rooms
                                                                                                            290.20                  1
                      As famous as Las Vegas itself, Caesars Palace is the best-known casino            Average nightly rate
                           resort in the world—and with good reason. What began as a grand casino          +Taxes & Fees 
                           honoring the indulgent luxuries of ancient Rome has somehow evolved into                               Guests per room
                           something even more spectacular. From the moment you walk through the                Select
                                                                                                                                    1
                           doors of Caesars Palace, you’ll understand why this iconic Las Vegas hotel
                           sets the standard for opulent details, impeccable service and lavish Las         View policies
                           Vegas accommodations.

                           Key Amenities
                           Room service                               Restaurant

                           Fitness center/health club                 Business center

                           Internet access                            Cable TV

                           Concierge                                  Gift shop                                                                        Harrah’s L
                           Show more
                                                                                                                                                       Restauran
                            Aug
                              Sat      Sun     Mon      Tue     Wed     Thu        Fri   Sat    Sun   
                                                                                                                                 Show details
                               3        4       5        6       7        8        9      10    11


                                                                                                                                                       Flamingo
                                                                                                                                                       Restauran


                                                                                                                                 Show details



                                                                                                                                                       The LINQ
                                                                                                                                                       Casino:


                                                                                                                                 Show details



                                                                                                                                                       Flamingo




                                                                                                                                 Show details




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                               Page 1 of 5



                                                                                                                                                 Page 26
Browse hotels           Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 7 of 11                                                 10/15/23, 7:28 PM




                          Flamingo Las Vegas                                                                                                          The LINQ
                          3555 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                USD 134.00
                                                                                                           Average nightly rate
                                                                                                                                                      Casino:
                    For 70 years, Flamingo Las Vegas has set the trend for Las Vegas style. This is
                      where the Strip began, and though much has changed since then, the
                                                                                                            +Taxes & Fees 


                          Flamingo’s vibrancy and allure remain the same. The Flamingo is classic                Select           Show details
                          Vegas with a contemporary sophistication that’s as welcoming as it is hip.
                          Stay center strip at the forever fabulous Flamingo Las Vegas Hotel and             View policies
                          Casino.                                                                                                                     Harrah’s L

                          Key Amenities
                          Room service                               Restaurant

                          Fitness center/health club                 Business center                                              Show details
                          Internet access                            Cable TV

                          Concierge                                  Gift shop                                                                        The LINQ
                          Golf nearby                                Hair dryer                                                                       Casino:
                          Show more
                           Aug
                                                                                                                                 Show details
                             Sat       Sun    Mon      Tue     Wed      Thu       Fri   Sat     Sun
                              3         4      5        6       7        8        9        10   11
                                                                                                                                                      Flamingo


                          Harrah's Las Vegas
                          3475 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES               USD 156.20 -
                                                                                                                                  Show details
                                                                                                             186.20
                    Come out and play and stay at Harrah's Las Vegas at the center of the
                      famous Las Vegas Strip. It's not just a Las Vegas Strip hotel, it's right at the
                                                                                                           Average nightly rate
                                                                                                            +Taxes & Fees 
                          heart of the most fabulous city on earth!
                                                                                                                 Select

                          Key Amenities                                                                      View policies
                          Room service                               Restaurant

                          Fitness center/health club                 Business center

                          Internet access                            Cable TV

                          Car rental                                 Gift shop

                          Golf nearby                                Hair dryer

                          In-room movies                             Iron/ironing boards

                          Meeting rooms
                          Show more                                  Mini bar

                           Aug
                             Sat       Sun    Mon      Tue     Wed      Thu       Fri   Sat     Sun    
                              3         4      5        6       7        8        9        10   11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                                Page 2 of 5



                                                                                                                                                  Page 27
Browse hotels           Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 8 of 11                                          10/15/23, 7:28 PM




                         Paris Las Vegas 
                         3655 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                 USD 139.80
                                                                                                           Average nightly rate

                    With its 530-foot-tall replica of the Ei"el Tower, its Arc de Triomphe, the           +Taxes & Fees 
                         sophisticated shopping along Le Boulevard, Paris Las Vegas is more than a
                         magnificent homage to the City of Light; it's one of the most sophisticated             Select
                         destinations you could possibly choose. Give in to your every desire at Paris
                         Las Vegas, whether you crave decadent dining, world class entertainment or          View policies
                         thrilling nightlife.

                         Key Amenities
                         Room service                               Restaurant

                         Fitness center/health club                 Business center

                         Internet access                            Cable TV

                         Concierge                                  Gift shop

                         Golf nearby                                Hair dryer
                         Show more
                           Aug
                             Sat     Sun     Mon      Tue     Wed      Thu        Fri   Sat   Sun     
                              3        4      5        6       7        8         9     10    11




                         Planet Hollywood Resort & Casino 
                         3667 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                USD 124.00 -
                                                                                                             164.00
                    There’s something about Planet Hollywood that makes a person feel famous.            Average nightly rate
                         Everything from the stylish accommodations to the level of personal service        +Taxes & Fees 
                         is decidedly A-List. With an abundance of distinctive Hollywood-inspired
                         venues, Planet Hollywood can transform any meeting into a hip, red carpet               Select
                         a"air. At Planet Hollywood, the celebrity lifestyle is yours for the living and
                         fame lies around every corner.                                                      View policies

                         Key Amenities
                         Room service                               Restaurant

                         Fitness center/health club                 Business center

                         Internet access                            Cable TV

                         Concierge                                  Convention center

                         Gift shop                                  Golf nearby
                         Show more
                           Aug
                             Sat     Sun     Mon      Tue     Wed      Thu        Fri   Sat   Sun     
                              3        4      5        6       7        8         9     10    11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                       Page 3 of 5



                                                                                                                                          Page 28
Browse hotels           Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 9 of 11                                       10/15/23, 7:28 PM




                         The LINQ Hotel + Experience
                         3535 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES              USD 131.90
                                                                                                        Average nightly rate

                    Energetic and eclectic, The LINQ Hotel + Experience is designed to fuel
                      connections. Rooms include cutting-edge technology, modern furnishings
                                                                                                         +Taxes & Fees 


                         with access to the Casino, the LINQ outdoor dining and shopping district and         Select
                         The High Roller observation wheel. The LINQ Hotel + Experience is redefining
                         the iconic Las Vegas skyline.                                                    View policies

                         Key Amenities
                         Room service                              Restaurant

                         Fitness center/health club                Internet access

                         Cable TV                                  Concierge

                         Gift shop                                 Golf nearby

                         In-room movies                            Iron/ironing boards

                         Meeting rooms                             Public transportation nearby
                         Show more
                          Aug
                            Sat      Sun    Mon       Tue    Wed      Thu        Fri   Sat    Sun   
                             3        4       5        6       7       8         9       10   11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                    Page 4 of 5



                                                                                                                                       Page 29
Browse hotels                 Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 10 of 11          10/15/23, 7:28 PM




     All data protected by Passkey International, Inc. No unauthorized use or disclosure is permitted.
     Copyright © 1997-2023 Passkey International, Inc. All Rights Reserved. Privacy Policy.                             ULY-2023




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                              Page 5 of 5



                                                                                                                 Page 30
Case 2:23-cv-01932-BAT Document 17-4 Filed 10/30/23 Page 11 of 11




                                                                    Page 31
